
The People of the State of New 
	York, Respondent, 
againstSangue Leye, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kevin B. McGrath, J.), rendered November 12, 2014, after a nonjury trial, convicting him of unlicensed general vending and failure to display a vendor's license, and imposing sentence.




Per Curiam.
Judgment of conviction (Kevin B. McGrath, J.), rendered November 12, 2014, affirmed.
The accusatory instrument charging defendant with unlicensed general vending (see Administrative Code of City of NY § 20—453) and failure to display a vendor's license (see Administrative Code of City of NY § 20-461[a]) was not jurisdictionally defective. At the pleading stage, the sworn police allegation that defendant was observed "at 10 East 53rd Street," displaying and offering for sale more than ten handbags, which he arranged "on a sheet on the ground," was "sufficiently evidentiary in character" (People v Allen, 92 NY2d 378, 385 [1998]) to support the "sale or offer for sale" (see People v Abdurraheem, 94 AD3d 569 [2012], lv denied 19 NY3d 970 [2012]; People v Zhang, 14 Misc 3d 82 [App Term, 1st Dept 2007], lv denied 8 NY3d 951 [2007]) and "public space" elements of unlicensed general vending (see People v Kasse, 40 Misc 3d 126[A], 2013 NY Slip Op 51022[U] [App Term, 1st Dept 2013], affd 22 NY3d 1142 [2014]; People v Abdurraheem, 94 AD3d at 570).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.I concur I concur I concur
Decision Date: September 19, 2017










